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 May 13, 2022

 Hon. Freda L. Wolfson
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Building and United States Courthouse
 402 East State St.
 Trenton, NJ 08608

 Re: Defense Distributed, et al. v. Platkin, No. 3:19-cv-4753 (D.N.J.) (Consolidated lead case)
     Defense Distributed, et al. v. Platkin, No. 3:21-cv-9867 (D.N.J.) (Consolidated member case)


 Dear Chief Judge Wolfson,

          The Court ordered the parties to file letters about whether this Court should grant the Western
 District of Texas’ return transfer request, Ex. A. This letter states the Plaintiffs’ position: The Court should
 grant the transfer request and return the entire controversy to the Western District of Texas immediately.

 I.      Comity and law-of-the-case principles warrant transfer.

          The Fifth Circuit has decided that Defense Distributed and SAF’s claims against the New Jersey
 Attorney General belong in the Western District of Texas. Defense Distributed v. Bruck, 30 F.4th 414 (5th
 Cir. Apr. 1, 2022) (Ex. B). It held not just that the district court in Texas had committed reversible error,
 but that “severing and transferring of the claims against the NJAG to the District of New Jersey was a clear
 abuse of discretion giving rise to an appropriate exercise of the court’s mandamus power.” Id. at 436-37.
 It held that the case against the New Jersey AG should be transferred back to Texas and reconsolidated with
 the related case against the State Department, with preliminary injunction hearings against the New Jersey
 AG to proceed in Texas “expeditiously.” Id. at 421 n.2.

          The Fifth Circuit’s decision is correct for the reasons given by Judge Jones’ opinion for the court
 and is correct for additional important reasons that were not reached. The New Jersey AG’s petition for
 rehearing en banc touted the dissent and failed immediately, without even one of that court’s seventeen
 active judges requesting a response from Plaintiffs. Ex. B. Critically, though, the instant question presented
 to this Court does not turn on a merits-based debate about whether the Fifth Circuit’s decision is correct.

         The rules of judicial comity dictate that this Court should defer to the Fifth Circuit’s decision and
 accept the Western District of Texas’s retransfer request without second-guessing or relitigating the venue
 decision at issue. Giving comity here serves all of the rule’s Article III interests, including the avoidance
 of needless decisional conflict and judicial inefficiency. The extremely rare exception for procedurally
 aberrant decisions does not apply here because the Fifth Circuit’s process was totally orthodox, as was the
 decision’s substance. The New Jersey AG lost fair and square. The Court should respect the Fifth Circuit’s
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 decision and stop the New Jersey AG’s latest attempt at “manipulation of federal court procedures in order
 to delay or altogether avoid meaningful merits consideration of Plaintiffs' claims.” Id. at 427.

          Precedent supports giving comity to the Fifth Circuit’s decision and opposes the New Jersey AG’s
 contrary request for divisive relitigation. Whereas no known decision on analogous facts rejects comity, a
 long line of cases employs the comity rule in accordance with Plaintiffs’ position. See Feller v. Brock, 802
 F.2d 722, 727-29 (4th Cir. 1986) (“whenever possible, coordinate courts should avoid issuing conflicting
 orders”); Bergh v. State of Wash., 535 F.2d 505, 507 (9th Cir. 1976) (“considerations of comity require
 more than the usual measure of restraint . . . [R]estraint in the name of comity keeps to a minimum the
 conflicts between courts administering the same law, conserves judicial time and expense, and has a salutary
 effect upon the prompt and efficient administration of justice”); U. S. for Use & Benefit of Mosher Steel
 Co. v. Fluor Corp., 436 F.2d 383, 385 (2d Cir. 1970) (“Comity among the district courts would obviously
 be furthered if these issues were referred back to the court which originally considered them. Moreover,
 because the Arizona court was already familiar with the issues, the interests of efficient judicial
 administration commend that court as an eminently suitable forum for further related proceedings.”); AXA
 Belgium, S.A. v. Century Indem. Co., No. 09 CIV. 9703 (CM), 2010 WL 199709, at *3 (S.D.N.Y. Jan. 11,
 2010) (“This is a simple matter of comity.”); Exxon Corp. v. U.S. Dep't of Energy, 594 F. Supp. 84, 91 (D.
 Del. 1984) (“this Court, even though it has jurisdiction over this action, by the dictates of comity should
 withhold its hand so as not to review, enjoin, or otherwise interfere with the . . . court of coordinate
 jurisdiction”); Common Cause v. Judicial Ethics Comm., 473 F. Supp. 1251, 1253 (D.D.C. 1979) (“the
 interests of comity compel deference”); see also In re Carmona, 224 F. Supp. 497, 498 (S.D. Cal. 1963).

          The central rule these comity cases uphold is that, when the same parties confront the same issue
 in multiple courts of coordinate jurisdiction, the first court decision resolving the issue should control and
 be deferred to by the second court. The rule is no mere suggestion. Deference to the initially-deciding
 court is to be given “whenever possible.” Feller, 802 F.2d at 727. The rule is not limited to discrete
 contexts either. It is “of great universality” because a “multitude of federal and state court cases” support
 it. In re Carmona, 224 F. Supp. at 498.

           An exception to the comity rule exists. The second court might not defer to the first court in cases
 of a first decision exhibiting serious procedural irregularity like “collusion.” Common Cause, 473 F. Supp.
 at 1253. But the exception is clearly inapplicable here. This situation therefore falls within the general rule
 calling for comity and deference to the issue’s first decision. Given that Fifth Circuit and the Western
 District of Texas decisions have expressly resolved the venue dispute without any hint of procedural
 irregularity, “comity and the requirements of good judicial administration require this Court to follow them
 without extensively re-examining the questions involved.” In re Carmona, 224 F. Supp. at 499.

          The New Jersey AG’s anti-comity approach would cause all of the harms precedent seeks to avoid.
 It “would be tantamount to having this Court sit as an appellate court” over the Fifth Circuit’s venue
 decision, which is an impermissible “collateral attack”1 that Article III does not permit. It would create
 “serious interference” with “a court of coordinate standing,”2 especially because the Western District of
 Texas has been charged with adjudicating the Plaintiffs’ case against the New Jersey AG together with the
 case against the State Department. See Defense Distributed, 30 F.4th at 436-37 (directing the district court
 to “reconsolidate Defense Distributed's case against the NJAG back into the case still pending against the
 State Department”). It would cause this Court to “meddle into litigation long pending”3 in the Western
 District of Texas, which has been presiding over this controversy since 2015.4 The Court should reject the
 invitation to cause so much unnecessary harm and instead hold that “this Court, even though it has

 1
   Common Case, 473 F. Supp. at 1253.
 2
   Exxon, 594 F. Supp. at 89.
 3
   Id. at 90.
 4
   See Def. Distributed v. U.S. Dep't of State, 121 F. Supp. 3d 680 (W.D. Tex. 2015).
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 jurisdiction over this action, by the dictates of comity should withhold its hand so as not to review, enjoin,
 or otherwise interfere with” the Fifth Circuit and Western District of Texas.5

          The comity rule just described exists to properly administer Article III’s judicial power
 independently of similar common law doctrines that protect some of the same interests. The comity rule is
 enough standing alone to justify granting the Western District of Texas’ retransfer request. But if the comity
 rule standing alone were not enough, the same essential reasoning would compel that result as a function
 of the law-of-the-case doctrine. See 18B Wright & Miller, Federal Practice & Procedure § 4478.4 (3d ed.
 West 2022). “Law-of-the-case policies apply with even greater force to transfer decisions than to decisions
 of substantive law; transferee courts that feel entirely free to revisit transfer decisions of a coordinate court
 threaten to send litigants into a vicious circle of litigation.” Id. Under this doctrine, the Fifth Circuit’s
 venue ruling should be accepted as law of the case so long as it is “plausible,” id., which it clearly is. In
 this respect the Fifth Circuit majority opinion speaks for itself.

 II.        Traditional transfer principles warrant returning both cases to Texas.

         Completely apart the Fifth Circuit’s decision and Western District of Texas’ request for retransfer,
 orthodox transfer of venue rules that would otherwise apply require these cases’ retransfer to Texas.
 Together with the compelling force of the Fifth Circuit’s decision, the additional Section 1404 transfer
 analysis makes the case for returning these suits to Texas overwhelming.

          Assuming that the Fifth Circuit’s decision and resulting retransfer request had never occurred, the
 statute warranting retransfer is 28 U.S.C. § 1404(a): “For the convenience of parties and witnesses, in the
 interest of justice, a district court may transfer any civil action to any other district or division where it
 might have been brought or to any district or division to which all parties have consented.” 28 U.S.C.
 § 1404(a); see generally 15 Charles Alan Wright & Arthur R. Miller et al., Federal Practice & Procedure:
 Jurisdiction & Related Matters §§ 3841–3855 (4th ed. West 2018). All three facets of that transfer inquiry
 are clearly met.

            1.       The cases “might have been brought” in Texas.

          The Western District of Texas is obviously where these cases “might have been brought.” §
 1404(a). Indeed, that is where Defense Distributed and SAF did in fact rightly bring the original action
 against the New Jersey AG, whose only argument was that New Jersey was a better venue—not that Texas
 was an improper venue.

          These cases might have been brought in the Western District of Texas’s Austin Division under 28
 U.S.C. § 1391(b)(2): “A civil action may be brought in . . . a judicial district in which a substantial part of
 the events or omissions giving rise to the claim occurred, or a substantial part of property that is the subject
 of the action is situated.” 28 U.S.C. § 1391(b)(2). That is the case here because Austin is where key events
 such as the Defendants’ website publication have always occurred.

            2.       The § 1404 public factors strongly support transfer.

           The “public factors” to be analyzed under Section 1404(a) “encompass the statutory consideration
 of the interest of justice.” Wright & Miller § 3847. They “focus on judicial economy and often include the
 district court’s familiarity with the governing law, the local interest in deciding local controversies at home,
 and the relative congestion of the courts.” Id. They also include matters like “the enforceability of the
 judgment” and “practical considerations that could make the trial easy, expeditious, or inexpensive.”


 5
     Exxon, 594 F. Supp. at 90.
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 Jumara v. State Farm Ins. Co., 55 F.3d 873, 879–80 (3d Cir. 1995). Here, all of the relevant public factors
 weigh heavily in favor transferring this action to Texas.

         First and foremost is the interest in judicial economy, which supplies an extraordinarily compelling
 reason to change venue here. See, e.g., Cont’l Grain Co. v. Barge FBL–585, 364 U.S. 19, 26 (1960); CIBC
 World Mkts. v. Deutsche Bank Sec., Inc., 309 F. Supp. 2d 637, 651 (D. N.J. 2004). Transferring this action
 to the Western District of Texas’s Austin Division puts it before the very same court that is handling the
 now-separate action that is very closely related to it: Defense Distribtued and SAF’s case against the State
 Department for wrongdoing that occurred in conjunction and cooperation with the New Jersey AG’s.

          Because these cases entail a great many overlapping facts and legal principles, principles of judicial
 economy call for them to be handled together. “The economic waste involved in duplicating litigation is
 obvious.” Crosley Corp. v. Hazeltine Corp., 122 F.2d 925, 930 (3d Cir. 1941). “Equally important is its
 adverse effect upon the prompt and efficient administration of justice.” Id. Another important
 consideration of judicial economy is the avoidance of “conflicting judgments, and unnecessary friction
 between courts.” Chavez v. Dole Food Co., Inc., 836 F.3d 205, 220 (3d Cir. 2016) (en banc). Transferring
 this action to the Court with the case against the State Department advances all of these interests.

         A transfer would especially enhance judicial economy here because the factual tasks entail the
 mastery of cutting-edge technologies. Judge Pitman can do that most efficiently because he has been doing
 so ever since 2015.

          A transfer would also especially enhance judicial economy here because the legal issues involve
 matters of law that might entail deference to the President’s view of foreign affairs, see, e.g., Holder v.
 Humanitarian Law Project, 561 U.S. 1, 33 (2010), and/or the meaning of federal statutes and regulations,
 see, e.g., Skidmore v. Swift & Co., 323 U.S. 134 (1944). Judge Pitman can receive the President’s views
 directly because the State Department is a party to the case there. Others can only speculate.

         3.       The § 1404 private factors strongly support transfer.

          The “private factors” under Section 1404(a) account for the “statutory considerations of
 convenience of the parties and witnesses,” and include the “ease of access to sources of proof” and each
 side’s forum preference. Wright & Miller § 3847; accord Jumara v. State Farm Ins. Co., 55 F.3d 873, 879
 (3d Cir. 1995). Here, none of the private factors play as substantial a role as the public factors do. But for
 what they are worth, the private factors clearly point in favor of transfer.

          Considerations of “convenience of the parties and witnesses” point in favor of transfer. To be sure,
 the chances are low that this case will entail many evidentiary hearings with fact witnesses and the
 possibility of things like technical demonstrations. But to the extent that it does, the Western District of
 Texas is the far more convenient venue because of its proximity to Defense Distributed’s Austin
 headquarters. Indeed, the Western District of Texas’s Austin Division is the Plaintiffs’ preferred venue.
 Considerations of convenience and the interests of justice motivated Defense Distributed to file Defense
 Distributed I there three years ago, those same considerations motivated it to initiate Defense Distributed
 II there as well. This genuine, deep-seated preference points in favor of a transfer. See Jumara, 55 F.3d at
 879. The New Jersey AG might prefer this case’s present venue. But that does not trump the force of so
 many other factors for several reasons.

         First, the New Jersey AG’s preference is not controlling because it is weak, and maybe even
 nonexistent. In this respect, the Attorney General’s actions speak louder than words. By going along with
 a score of other states to sue Defense Distributed on the other side of the country (the Western District of
 Washington) the New Jersey AG showed that the need for a nearby venue is of little concern to him.
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         Second, even if the Attorney General of New Jersey had a strong preference for this venue, the law
 would instruct the Court to apply a discount because of the Attorney General’s superior access to litigating
 resources. See Maliki v. Holy Redeemer Hosp., Civ. Ac. No. CV-151591-KSH-CLW, 2016 WL 4161094,
 at *2 (D. N.J. Aug. 5, 2016).

         The bottom line is that, “when the Section 1404(a) factors—the convenience of the parties and
 witnesses and the interest of justice—convince the court that another proper venue is the ‘center of gravity’
 for the dispute, transfer is appropriate.” Wright & Miller § 3841 & n.7. Texas is this case’s “center of
 gravity” and should be its venue.

 III.    Consolidation poses no problems

           In no event should the presence of case number 3:19-cv-4753—the case that originated in this
 Court—halt or delay the transfer of case number 3:21-cv-9867—the case that originated in Texas and was
 “first filed.” The New Jersey AG's concerns about this relationship are erroneous because the Fifth Circuit
 already grappled with them and correctly disregarded them. More importantly, any such concerns can be
 dealt with far more effectively and equitably with other orthodox litigation tools.

          First, Plaintiffs submit that any such concerns can and should be dealt with by transferring both
 cases to the Western District of Texas and letting that Court confront any subsequent issues in the first
 instance. Second and alternatively, Plaintiffs submit that these concerns can and should be dealt with by
 transferring case number 3:21-cv-9867 to the Western District of Texas and staying case number 3:19-cv-
 4753. A stay of case number 3:19-cv-4753 so that case number 3:21-cv-9867 can proceed is exactly what
 the New Jersey AG successfully obtained by invoking the “first filed” rule earlier in this litigation—both
 in this Court and the Third Circuit. He is estopped from arguing otherwise now just because the tactical
 tables are turned.

 IV.     Conclusion

         For these reasons, the Court should defer to the Fifth Circuit’s decision under either comity and/or
 law of the case principles and transfer the cases against the New Jersey AG to the United States District
 Court for the Western District of Texas.

                                                                    Very truly yours,

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                                                Counsel for Plaintiffs Defense Distributed,
                                                the Second Amendment Foundation, Inc.
                                                Firearms Policy Coalition, Inc., Firearms
                                                Policy Foundation, Calguns Foundation,
                                                California Association of Federal Firearms
                                                Licensees, Inc., and Brandon Combs
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     Exhibit A
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         Case 1:18-cv-00637-RP
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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

 DEFENSE DISTRIBUTED and                            §
 SECOND AMENDMENT                                   §
 FOUNDATION, INC.,                                  §
                                                    §
                Plaintiffs,                         §
                                                    §
 v.                                                 §                   1:18-CV-637-RP
                                                    §
 ANDREW J. BRUCK, Acting Attorney General           §
 of New Jersey, in his official and individual      §
 capacities, et al.,                                §
                                                    §
                Defendants.                         §

                                                 ORDER

        Before the Court is the Judgment and Mandate of the United States Court of Appeals for the

 Fifth Circuit remanding Plaintiffs’ Notice of Appeal, (Dkt. 146). (Judgment, Dkt. 171).

        Pursuant to the Fifth Circuit Judgment, IT IS ORDERED that the Court’s April 19, 2021,

 Order, (Dkt. 145), severing Defense Distributed’s claims against the New Jersey Attorney General

 and transferring them to the United States District Court for the District of New Jersey, is

 VACATED.

        Additionally, pursuant to the Fifth Circuit’s Judgment, the Court requests the District of

 New Jersey to return the transferred case to the Western District of Texas, Austin Division, to be

 reconsolidated with this matter.

        SIGNED on April 13, 2022.




                                                     _____________________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
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    Exhibit B
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               United States Court of Appeals
                    for the Fifth Circuit                                United States Court of Appeals
                                                                                  Fifth Circuit

                                                                                FILED
                                                                             April 1, 2022
                                       No. 21-50327
                                                                           Lyle W. Cayce
                                                                                Clerk
       Defense Distributed;
       Second Amendment Foundation, Incorporated,

                                                              Plaintiffs—Appellants,

                                           versus

       Andrew J. Bruck, Acting Attorney General of New
       Jersey, in his official and individual capacities

                                                               Defendant—Appellee.


                      Appeal from the United States District Court
                           for the Western District of Texas
                                USDC No. 1:18-CV-637


       Before Jones, Elrod, and Higginson, Circuit Judges.
       Edith H. Jones, Circuit Judge:
              Since 2013, Appellants (collectively, “Defense Distributed”) have
       been challenging publication restraints imposed by the U.S. State
       Department, federal courts, and the State of New Jersey after Defense
       Distributed published to the Internet computer assisted design (“CAD”)
       files for a single-round plastic pistol. Although Defense Distributed is still
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       prevented from publishing, 1 the CAD files it published remain available to
       this day on countless other websites internationally. Defense Distributed has
       yet to secure a court decision condemning what appear to be flagrant prior
       restraints. 2
               The instant combined appeal and motion for mandamus relief stems
       from a district court order severing the case against one defendant, the
       Attorney General of New Jersey (NJAG), 3 and transferring it to a federal
       court in New Jersey. We conclude that mandamus relief is appropriate in this
       unusual case. Accordingly, we direct the district court to request retransfer
       from its counterpart in New Jersey and order other relief in accordance
       herewith.




               1
                  To be more precise, Defense Distributed published the CAD files to the Internet
       for a few months from December 2012 — May 2013 before the State Department claimed
       that to do so violated International Traffic in Arms Regulations (“ITAR”). See Defense
       Distributed v. U.S. Dep’t of State, 838 F.3d 451, 455 (5th Cir. 2016); id. at 461-63 (Jones, J.,
       dissenting). The company also published to the Internet for five days in 2018 during a
       litigation hiatus. Further, it has published the files by hosting them at a public library in
       Austin, Texas, and by distributing USB drives and SD cards through the Postal Service.
       To date, the CAD files are still not available on the internet free from all prior restraint. As
       the Supreme Court declared, a “loss of First Amendment freedoms, for even minimal
       periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S.
       347, 373, 96 S. Ct. 2673, 2690 (1976). These Appellants’ First Amendment freedoms have
       been restrained for years.
               2
                 The injunction motion pending before the panel is denied as moot. This denial
       does not imply that the motion lacks merit. The original preliminary injunction motion
       before the district court was denied on the basis of an incorrect finding that the district
       court lacked personal jurisdiction over the NJAG. Upon return of this case to the Western
       District of Texas, the court should entertain a motion for preliminary injunction
       expeditiously.
               3
                Gurbir Grewal was New Jersey’s Attorney General when this suit was filed. He
       is succeeded by Andrew Bruck. For convenience, we refer to this defendant as the NJAG.




                                                      2
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                                     Background
              Two previous opinions of this court describe the litigation history
       surrounding Defense Distributed’s publication of then-novel CAD files for a
       pistol that can theoretically be “printed” from a computer affixed to the
       proper equipment. See Defense Distributed v. Grewal, 971 F.3d 485, 488-90
       (5th Cir. 2020); Defense Distributed v. U.S. Dep’t of State, 838 F.3d 451, 454-
       58 (5th Cir. 2016); id. at 461-66 (Jones, J., dissenting). We quote from the
       more recent opinion:
                      Plaintiff Defense Distributed is a Texas company
              operated for the purpose of promoting popular access to
              firearms. To carry out this purpose, it produces and makes
              accessible information related to the 3D printing of firearms
              and publishes and distributes such information to the public.
              Plaintiff Second Amendment Foundation, Inc. (“SAF”) is a
              nationwide, non-profit membership organization that
              “promotes the right to keep and bear arms by supporting
              education, research, publications, and legal efforts about the
              Constitution’s right to privately own and possess firearms and
              the consequences of gun control.” Across the nation, SAF
              members seek the digital firearms information created by
              Defense Distributed, circulate their own digital firearms
              information by utilizing Defense Distributed’s facilities, and
              republish digital firearms information independently.
                      Defense Distributed began distributing files related to
              the 3D printing of firearms in December 2012. It did so by
              publishing files to its defcad.org and defcad.com websites and
              letting visitors freely download them. It also distributed digital
              firearms information via mail and at a brick-and-mortar public
              library in Austin, Texas. Defense Distributed’s efforts were
              initially met with opposition from the United States




                                              3
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               Department of State. 4 But, after a period of litigation, the
               parties reached a settlement agreement that granted Defense
               Distributed a license to publish its files.
                      Shortly thereafter, nine Attorneys General, including
               New Jersey Attorney General Grewal, filed suit on behalf of
               their respective states in the Western District of Washington
               to enjoin the State Department from authorizing the release of
               Defense Distributed’s files. They argued that the State
               Department’s license to Defense Distributed constituted an
               ultra vires about-face that violated the Administrative
               Procedure Act and jeopardized the states’ statutory and
               regulatory schemes for firearms. The Western District of
               Washington quickly issued a temporary restraining order,
               followed closely by a nationwide preliminary injunction. 5
                      Just before the Attorneys General sued in Washington,
               Defense Distributed and SAF brought the instant action in the
               Western District of Texas challenging select enforcement
               actions taken by the state Attorneys General. Of relevance to
               this appeal, Plaintiffs alleged these actions by Grewal:
               (1) sending a cease-and-desist letter threatening legal action if
               Defense Distributed published its files; (2) sending letters to
               third-party internet service providers based in California
               urging them to terminate their contracts with Defense
               Distributed; (3) initiating a civil lawsuit against Defense
               Distributed in New Jersey; 6 and (4) threatening Defense

               4
                See Defense Distributed v. U.S. Dep’t of State, 838 F.3d 451 (5th Cir. 2016); id. at
       462–76 (Jones, J., dissenting).
               5
                  The Attorneys General later filed a motion for summary judgment, which the
       district court granted in part. Washington v. U.S. Dep’t of State, 420 F. Supp. 3d 1130 (W.D.
       Wash. 2019). On appeal, the Ninth Circuit found that the case was moot and thus
       dismissed for lack of jurisdiction. Washington v. Defense Distributed, Nos. 20-35030 & 20-
       35064, 2020 WL 4332902 (9th Cir. July 21, 2020).
               6
                That lawsuit was removed to federal court before being administratively
       terminated in light of the nationwide injunction issued in Washington. The Plaintiffs have




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               Distributed with criminal sanctions at a live press conference.
               Further, these actions, coupled with the injunctive orders
               issued in the Washington litigation, have caused Defense
               Distributed to cease publication of its materials. The Plaintiffs
               asserted, inter alia, that these actions infringed the exercise of
               their First Amendment freedoms and constituted tortious
               interference with the State Department’s settlement
               agreement.
                       Grewal moved to dismiss for lack of personal
               jurisdiction. 7 The Plaintiffs, meanwhile, sought a preliminary
               injunction. After holding a hearing and considering the
               parties’ arguments, the court granted Grewal’s motion and
               dismissed the action without prejudice.
       Defense Distributed v. Grewal, 971 F.3d at 488-89 (footnotes in original).
       Defense distributed appealed. This court held that the NJAG is amenable to
       personal jurisdiction in Texas courts. Id. at 488. Accordingly, the court
       reversed and remanded for further proceedings. Id.
               Following our remand to the district court, Defense Distributed
       amended its complaint to join the State Department as a defendant for its
       alleged failure to comply with a Settlement Agreement reached with Defense
       Distributed in 2018. Shortly after, the NJAG moved to sever Defense
       Distributed’s case against him and transfer that portion of the case to a New
       Jersey federal court. The State Department opposed severance, as did




       likewise sued in New Jersey, raising the same claims asserted in the case at bar. See Defense
       Distributed v. Grewal, D.N.J. No. 3:19-CV-4753. That case is currently stayed pending
       resolution of this one.
               7
                The other state Attorneys General also moved to dismiss, and the district court
       granted their motions. On appeal, the Plaintiffs challenge only the judgment related to
       Grewal.




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       Defense Distributed. Nonetheless, the district court obliged the NJAG by
       written order both severing and transferring the case against him.
               Defense Distributed immediately noticed an appeal from the
       severance-and-transfer order and followed with an alternate request for
       mandamus relief against the district judge. This court imposed a temporary
       stay of the case pending appeal. The New Jersey district court also stayed all
       proceedings pending this appeal.
                                             Discussion
               I. Appellate jurisdiction
               We pretermit Defense Distributed’s resort to the collateral order
       doctrine as a basis for appellate jurisdiction in this interlocutory appeal 8
       because, in this circuit, mandamus is the prescribed vehicle for reviewing
       rulings on transfers of cases pursuant to 28 U.S.C. § 1404(a). See In re
       Volkswagen of Am., Inc., 545 F.3d 304, 309 (5th Cir. 2008) (en banc); In re
       Rolls Royce Corp., 775 F.3d 671, 676-77 (5th Cir. 2014).
               The twist in this case is the transfer to a district court outside the Fifth
       Circuit, a court over which this court exercises no control. This court lacks
       power to order a return of the case to our circuit. But In re Red Barn Motors,
       Inc., 794 F.3d 481 (5th Cir. 2015), explained the path to a cognizable
       mandamus remedy. Id. at 483-84. The All Writs Act, 28 U.S.C. § 1651,
       empowers courts to issue writs of mandamus if the courts also have appellate
       jurisdiction, “although no appeal has been perfected.” Roche v. Evaporated


               8
                 In re Rolls Royce Corp. asserted that our circuit has held that transfer orders do not
       fall within the scope of the collateral order doctrine. 775 F.3d 671, 676 (5th Cir. 2014)
       (citing Brinar v. Williamson, 245 F.3d 515, 517 (5th Cir. 2001)). However, other cases seem
       to apply the doctrine to transfer orders. See In re Sepulvado, 707 F.3d 550, 552 (5th Cir.
       2013); In re Bradford, 660 F.3d 226, 229 (5th Cir. 2011). We need not weigh into a potential
       intra-circuit split.




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       Milk Ass’n., 319 U.S. 21, 25, 63 S. Ct. 938, 941 (1943). Because of the
       transfer, the Texas transferor court can no longer enter an appealable order
       in the case. In re Red Barn, nevertheless, approved that “several circuits,
       where appropriate, have endorsed the method of directing the transferor
       district court to request that the transferee district court return the case.” Id.
       at 484 (collecting cases). To be sure, to avoid friction with sister circuits, the
       court held that “if we even have the power to reverse such a transfer, we
       should exercise it only if faced with ‘a very extreme case.’” Id. (citing In re
       Sw. Mobile Homes, Inc., 317 F.2d 65, 66-67 (5th Cir. 1963)). But intercircuit
       friction was reduced where the transferee court there, as here, stayed
       proceedings pending our appellate panel’s decision. Id. The court concluded
       by requiring a party seeking relief from a transfer order to exercise diligence.
       Id. at 485. Because the petitioner had waited three months to file its
       mandamus petition, the writ was denied. Id.
              In this case, of course, the notice of appeal was filed the day after the
       district court’s order and mandamus relief formally sought within thirty-nine
       days while briefing was underway. Because In re Red Barn sets the standard,
       we have jurisdiction to consider the mandamus petition.
              The NJAG asserts four objections to our jurisdiction. He asserts that
       In re Red Barn did not hold what we just stated it held; that other circuits
       would not allow a writ of mandamus where a case is transferred to another
       circuit; and that Defense Distributed was not diligent. Finally, he contends
       that because Defense Distributed may eventually challenge the transfer order
       in courts of the Third Circuit, the availability of appellate review disentitles
       him to an equitable writ. We find none of these arguments persuasive.
              First, In re Red Barn denied the writ only for lack of petitioner’s
       diligence. That conclusion would have been inappropriate had the panel
       concluded that mandamus is not available to challenge an out-of-circuit




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       transfer order. The court’s entire discussion of the writ, and a limitation
       where intercircuit friction may occur, would have been unnecessary. Instead,
       the court weighed the approaches of other circuits, noting that in particular
       cases a circuit court exercised jurisdiction to vacate a completed intercircuit
       transfer. See In re Red Barn, 794 F.3d at 484 n.6. This discussion would also
       be extraneous had the court simply been uttering dicta rather than explaining
       its rationale. And of course, the court noted that several circuits have
       authorized mandamus relief in these circumstances. Id. Finally, there is no
       “assuming arguendo” language that couches the court’s ruling on mandamus
       in hypothetical terms. 9 In short, In re Red Barn’s procedural holding is not
       predicated on dicta.
               Second, other circuits have adopted the same approach. See, e.g., In
       re Howmedica Osteonics Corp., 867 F.3d 390, 399-400, 411 (3d Cir. 2017)
       (asserting jurisdiction to vacate intercircuit transfer order); In re Warrick,
       70 F.3d 736, 739-40 (2d Cir. 1995) (asserting mandamus jurisdiction and
       distinguishing In re Drabik, 246 F.2d 408 (2d Cir. 1957), as not justifying
       denial of all relief “in these circumstances”); A.C. Nielsen Co. v. Hoffman,
       270 F.2d 693, 695 (7th Cir. 1959) (concluding that the court has mandamus
       jurisdiction over intercircuit transfer order). Each of these circuits has
       applied mandamus to decide the propriety of intercircuit transfers. Although
       the Tenth Circuit held that a completed intercircuit transfer divested it of
       appellate jurisdiction, Chrysler Credit Corp. v. Country Chrysler, Inc.,
       928 F.2d 1509, 1516-17 (10th Cir. 1991), that court went on to recognize that
       “technically,” the district court should have deferred effectuating the


               9
                 The court refers to the “potential availability” of the writ, but then cites the
       Supreme Court’s substantive standard for granting or denying mandamus as applicable to
       show that the writ sought by petitioners in In re Red Barn was not “appropriate under the
       circumstances.” In re Red Barn, 794 F.3d at 484-85, 485 n.7 (quoting Cheney v. U.S. Dist.
       Ct. for Dist. of Columbia, 542 U.S. 367, 381, 124 S. Ct. 2576, 2587 (2004)).




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       transfer so that the parties could seek certification or “file a mandamus
       petition.” Id. at 1520 n.9. See also In re Nine Mile Ltd., 673 F.2d 242 (8th Cir.
       1982)(mandamus ordered where district court erroneously transferred
       papers to consummate Section 1404 case transfer before appeal could be filed
       in transferor district). Thus, the balance of circuit court authority, in
       addition to the cases cited by In re Red Barn, favors jurisdiction in this case.
               Third, the AG questions the diligence of Defense Distributed because
       of its failure to seek an immediate stay in the district court or file an
       immediate mandamus petition. Nothing in applicable precedent, however,
       mandates the particular method by which a party disadvantaged by an out-of-
       circuit transfer must bring that issue to the circuit court. Defense Distributed
       filed its notice of appeal the day after the district court’s transfer order and
       promptly sought relief in this court. The defendants and district court were
       immediately placed on notice of Defense Distributed’s intent to challenge
       the transfer in this court, and the actual transfer order was not docketed until
       the following day. It sought mandamus relief in briefing to this court, filed
       thirty-nine days after the court’s order. 10             The Appellants’ diligence
       comports with this court’s emphasis on “diligence” in In re Red Barn and
       with the timing of filings in In re Howmedica, 867 F.3d at 400.
               Fourth, it is inaccurate to assert, as the NJAG does, that Defense
       Distributed has adequate available alternatives for appellate court review of
       the district court’s order, which render a mandamus remedy unavailable.
       Unlike In re Red Barn, this case encompasses severance as a necessary




               10
                 The NJAG’s contention that Defense Distributed cannot seek mandamus due to
       technical noncompliance with FRAP Rule 21 is frivolous. Defense Distributed’s briefing,
       procedurally and substantively, stated clearly the relief requested and grounds for seeking
       mandamus relief.




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       condition of the transfer. 11 On appeal, the Third Circuit could not review the
       severance order, much less attempt to consolidate the case against the NJAG
       with the case still pending in Texas against the State Department. Therefore,
       on its face, this tandem order is effectively unreviewable in the transferee
       circuit.
               Moreover, if the potential Third Circuit appeal were (arbitrarily)
       limited to the transfer order alone, a premier procedural treatise notes that
       review in the transferee court seems illusory given the application of comity
       and law-of-the-case principles.            See 15 Charles Alan Wright,
       Arthur R. Miller & Edward H. Cooper, Federal Practice
       and Procedure [hereafter, Wright & Miller] § 3846 (4th ed.
       2021); id. at § 3855 (similar). The likelihood of securing a retransfer by the
       transferee district court seems equally constrained.                 But even if these
       propositions are arguable, see SongByrd, Inc. v. Estate of Grossman, 206 F.3d
       172, 178 n.7 (2d Cir. 2000) (collecting cases), the SongByrd decision, like that
       of other courts, acknowledges the availability of mandamus review in the
       Fifth Circuit. Id. at 176-77, 176 n.5. 12




               11
                 The Red Barn district court transferred an entire case, with two defendants one
       of which objected strenuously, to Indiana. 794 F.3d at 483.
               12
                   See also Hill v. Henderson, 195 F.3d 671, 676-77 (D.C. Cir. 1999) (“Transfer
       orders under § 1404 are not final appealable orders, nor, generally speaking, reviewable
       collateral orders. Commonly, however, courts of appeal in the circuit of origin entertain
       mandamus petitions to review such orders . . . . A possible explanation for finding transfer
       orders nonreviewable in the transferee circuit is that such orders are usually effectively
       subject to immediate review via mandamus in the circuit of the transferring court.”)
       (citations omitted); Nascone v. Spudnuts, Inc., 735 F.2d 763, 773 (3d Cir. 1984) (concluding
       that “mandamus review is appropriate” over a transfer order after deciding it did not fall
       within the collateral order doctrine, and recognizing the general rule that “the Plaintiff
       could petition the transferor appellate court for a writ of mandamus blocking the transfer”)
       (citation omitted).




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               Finally, the fact that the district court here granted the transfer, rather
       than denying it, makes no difference. In this circuit, neither In re Rolls Royce
       nor In re Volkswagen limited writs of mandamus according to whether the
       district courts granted or denied transfer. 13 And in Howmedica, the Third
       Circuit applied mandamus to vacate the order granting transfer to the Central
       District of California. In re Howmedica, 867 F.3d at 411. Whatever the
       possibility of review in the transferee circuit, this has not been regarded as
       sufficiently effective to preclude writs of mandamus in the transferor court. 14
               II. Mandamus
               A writ of mandamus is “a drastic and extraordinary remedy reserved
       for really extraordinary cases.” In re Depuy Orthopaedics, Inc., 870 F.3d 345,
       350 (5th Cir. 2017). This court will grant a petition for a writ of mandamus
       only if the petitioner satisfies three conditions. First, the petitioner must
       show that there are “no other adequate means to attain the relief he desires.”
       Cheney v. U.S. Dist. Court, 542 U.S. 367, 380, 124 S. Ct. 2576, 159 L.Ed.2d
       459 (2004). Second, the court “must be satisfied that the writ is appropriate
       under the circumstances.” Id. at 381, 124 S. Ct. 2576. And third, the
       petitioner must show a “clear and indisputable right to the writ.” Id.
               Defense Distributed easily satisfies the first two conditions for
       mandamus relief. As we just explained, the Third Circuit transferee court
       cannot, under normal appellate standards, exercise appellate review over



               13
                 In In re Volkswagen, the en banc court emphasized that review of a transfer order
       following final judgment was not an “adequate remedy,” and observed that “venue
       transfer decisions are rarely reviewed.” 545 F.3d at 319.
               14
                  This court’s decision in Persyn v. United States, 935 F.2d 69 (5th Cir. 1991), offers
       no help to the NJAG. The court there explicitly stated that seeking retransfer is not an
       adequate alternative to appellate review where, as here, both courts have subject-matter
       jurisdiction. Id. at 73.




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       either the severance or transfer orders of this Western District of Texas. E.g.,
       In re Red Barn, at 484-85.
              Second, granting the writ would be “especially appropriate where the
       issues implicated have importance beyond the immediate case.” In re
       JPMorgan Chase & Co., 916 F.3d 494, 499 (5th Cir. 2019) (quoting In re
       Lloyd's Register N. Am., Inc., 780 F.3d 283, 294 (5th Cir. 2015); and In re
       Volkswagen, at 319 (internal quotation marks omitted). Before this court are
       “issues that implicate not only the parties' interests but those of the judicial
       system itself.” United States v. Bertoli, 994 F.2d 1002, 1014 (3d Cir. 1993).
       Preeminent are questions about the abridgement of the Plaintiffs’ first
       amendment rights to publish their materials. Also critical, however, are
       tactics suggesting the abusive manipulation of federal court procedures in
       order to delay or altogether avoid meaningful merits consideration of
       Plaintiffs’ claims.
              What the parties most strenuously debate is whether Defense
       Distributed has shown a clear and indisputable right to the writ or a clear
       abuse of discretion by the district court. See Cheney at 281, 2576; see also In
       re Volkswagen, at 308. “A district court by definition abuses its discretion
       when it makes an error of law.” Koon v. United States, 518 U.S. 81, 100,
       116 S. Ct. 2035, 2047 (1996) (citing Cooter & Gell v. Hartmarx Corp., 496 U.S.
       384, 405, 110 S. Ct. 2447, 2461 (1990) (“a district court would necessarily
       abuse its discretion if it based its ruling on an erroneous view of the law”)).
       We conclude that the district court clearly abused its discretion by applying
       the wrong legal standard for evaluating the NJAG’s conjoined severance and
       transfer motions and by egregiously misinterpreting Defense Distributed’s
       claims. Moreover, even if the motions are evaluated wholly independently,
       the transfer motion cannot stand if the severance motion was wholly
       unjustified. See, e.g., Chrysler Credit Corp. v. Country Chrysler, 928 F.2d 1509
       (10th Cir. 1991); In re Nine Mile Ltd., 673 F.2d at 242 (because transfer order



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       was procedurally incorrect, mandamus ordered district court to request
       return of the case from the transferee court).
               A. Joint Severance and Transfer
               To explain this conclusion, we remind that the Federal Rules of Civil
       Procedure were enacted to ensure “the just, speedy and inexpensive
       determination of every action and proceeding.” Fed. R. Civ. P. 1. To be more
       precise, Fed. R. Civ. P. 21, which authorizes severance of parties, and 28
       USC § 1404(a), governing transfers among federal district courts, “are
       [both] designed to facilitate just, convenient, efficient and less expensive
       determination.” In re Nintendo of America, Inc., 756 F.3d 1363, 1365 (Fed. Cir.
       2014). Although a district court has broad discretion to sever parties that
       were otherwise properly joined by a Plaintiff, 15 “[u]nder the Rules, the
       impulse is toward entertaining the broadest possible scope of action
       consistent with fairness to the parties; joinder of claims, parties and remedies
       is strongly encouraged.” United Mine Workers v Gibbs, 383 U.S. 715, 724,
       86 S. Ct. 1130, 1138 (1966).
               On two occasions, this court has discussed standards for joint
       severance and transfer motions brought by a defendant or defendants, the
       effect of which would require a Plaintiff to split its case into two different
       federal courts.         In a well-known opinion, this court noted that “our
       jurisprudence suggests that the severance inquiry is different—and more
       focused on judicial efficiency—when it is combined with a section 1404
       motion to transfer than when the severed case would remain in the original
       judicial district.” In re Rolls Royce, 775 F.3d at 680. 16 The court quoted at


               15
                    Brunet v. United Gas Pipeline Co., 15 F.3d 500, 505 (5th Cir. 1994).
               16
                  Judge Higginbotham’s opinion in Rolls Royce has been cited frequently for its
       application of sever/transfer considerations when one of the parties has a forum selection




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       length Judge Alvin Rubin’s opinion explaining the problems that can arise in
       a case involving multiple defendants when claims against one or some
       defendants are severed and transferred while claims against the remaining
       defendant are retained in the original court. Id., (quoting Liaw Su Teng v.
       Skaarup Shipping Corp., 743 F.2d 1140, 1148-49 (5th Cir. 1984)). Judge
       Rubin’s list of parameters that should inform this type of proposed transfer
       bears repeating:
              But before thus putting asunder what the Plaintiff has joined,
              the court must weigh carefully whether the inconvenience of
              splitting the suit outweighs the advantages to be gained from
              the partial transfer. It should not sever if the defendant over
              whom jurisdiction is retained is so involved in the controversy
              to be transferred that partial transfer would require the same
              issues to be litigated in two places. [See Korbel, The Law of
              Federal Venue and Choice of the Most Convenient Forum,
              15 Rutgers L.Rev. 607 (1961); Masington, Venue in the Federal
              Courts—The Problem of the Inconvenient Forum, 15 U.Miami
              L.Rev. 237 (1961); Note, 46 Cornell L.Q. 318 (1961)]. That
              being the situation here, the district court should not have
              severed the claims if there were any alternative. Manifestly,
              the Plaintiffs will suffer some inconvenience if they are forced
              to litigate their claims in two courts, half the world apart from
              each other, with not only the consequent added expense and
              inconvenience but also the possible detriment of inconsistent
              results. A single forum is also most suitable for determining
              possible counter- and cross-claims. The public also has an
              interest in facilitating a speedy and less-expensive
              determination in one forum of all of the issues arising out of one
              episode.



       clause. However, the court’s discussion about severance and transfer orders in
       multidefendant cases draws from Liaw Su Teng and other non-forum selection clause cases
       and is thus more broadly applicable here.




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       Liaw Su Teng v. Skaarup Shipping Corp., 743 F.2d 1140, 1148–49 (5th Cir.
       1984), overruled on other grounds, In re Air Crash Disaster Near New Orleans,
       La., on July 9, 1982, 821 F.2d 1147 (5th Cir. 1987).
              Several points made in Judge Rubin’s opinion are common to this
       species of joint severance and transfer motions. A court must “weigh
       carefully” the comparative inconvenience of splitting the suit versus the
       advantages to be gained from a partial transfer. It should not sever if the
       defendant not transferred is “so involved” in the controversy transferred to
       another court that partial transfer would require the same issues to be
       litigated in two places. “Manifestly,” Plaintiffs are disadvantaged by the
       expense and inconvenience of having to litigate in two disparate fora and by
       the possibility of inconsistent results. And the public has an interest in the
       comparative speediness and cost-savings from utilizing a single forum for the
       issues arising out of one episode. See also 15 Wright & Miller, § 3845,
       at 86 (echoing these factors).
              Other courts have agreed with Liaw Su Teng, and specified that in
       analyzing severance and transfer motions, “[b]efore effecting such a
       severance, a judge should weigh the convenience to the parties requesting
       transfer against the potential inefficiency of litigating the same facts in two
       separate forums.” White v. ABCO Eng'g Corp., 199 F.3d 140, 144 (3d Cir.
       1999). Previously, the Third Circuit, explicitly endorsing Judge Rubin’s
       view, denied severance and transfer where the defendant not transferred was
       more than “indirectly connected” to the Plaintiff’s dispute with the
       defendant seeking transfer. Sunbelt Corp. v. Noble, Denton and Assoc., Inc.,
       5 F.3d 28, 34 (3d Cir. 1993). The Second Circuit, which pioneered using
       severance and transfer as a permissible strategy of case management,
       nonetheless held it appropriate only “where the administration of justice
       would be materially advanced….” and where a defendant in one district is




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       only “indirectly connected” to the claims that will be transferred to the other
       district. Wyndham Assoc. v. Bintliff, 398 F.2d 614, 618-19 (2d Cir. 1968). 17
               The district court here quoted Rolls Royce, but it misperceived and
       thus misapplied this court’s explanation about “judicial efficiency.” In the
       above cases, courts were not deciding ordinary Rule 21 severance motions, in
       which parties or claims may be split while the disputes are maintained before
       the same court. Severance and transfer requires two courts to engage in the
       work of one, prompting serious concerns about duplication of judicial
       resources, the consistency of rulings, and litigation costs. The circuit courts
       that discussed severance and transfer motions in this context have uniformly
       indicated an aversion to granting such motions at the expense of needless
       duplication of judicial effort. The rule emanating from Rolls Royce and Liaw
       Su Teng is that in most multidefendant cases—other than those involving
       forum selection clauses—severance and transfer makes sense only where the
       administration of justice would be materially advanced and a defendant in one
       district is not “so involved” in the transferred controversy that the same
       issues would have to be litigated twice. 18 Consequently, the district court
       erred legally in finding that the State Department is only indirectly connected




               17
                  Wright & Miller explains that severance and transfer of claims or parties
       enabled courts to avoid the rule that “[i]n suits against multiple defendants, transfer is
       proper only to a district in which all of them are subject to personal jurisdiction and in which
       venue is proper for an action against all of them.” Wright & Miller § 3845, at 85.
       The treatise also endorses the cautious use of such orders. Id. at 86-87.
               18
                  See also Continental Grain Co. v. The FBL-585, 364 U.S. 19, 26, 80 S. Ct. 1470,
       1474 (1960)(“To permit a situation in which two cases involving precisely the same issues
       are simultaneously pending in different District Courts leads to the wastefulness of time,
       energy and money that Sec. 1404(a) was designed to prevent. Moreover, such a situation
       is conducive to a race of diligence among litigants for a trial in the District Court each
       prefers”).




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       to claims pled against the NJAG 19 and in failing to find that the administration
       of justice would not be materially advanced by transfer.
               The direct connection between the Plaintiffs’ claims against these two
       defendants contradicts the district court’s artful dissection of Defense
       Distributed’s Second Amended Complaint. The court ignored the major
       components of the lawsuit and the overarching connection alleged between
       the State Department and the NJAG.                 Both government entities have
       suppressed legal speech by prohibiting the publication of the company’s
       digital firearms files on the internet and into New Jersey. That the First
       Amendment protects all of the Plaintiffs’ publications underlies all of their
       other claims. 20 The Plaintiffs’ assertion of seventeen separate claims reflects
       the consequences of that suppression and the tortuous path they have been
       forced to pursue for redress. Yet, contrary to common sense and heedless of
       a potential for disparate constitutional rulings if the case against the NJAG
       remains transferred, the court belittled the First Amendment issues.
       According to the district court, not all of Plaintiffs’ claims involve the First
       Amendment. The court overlooked Plaintiffs’ claims that directly involve
       both Defendants in the settlement agreement breach and in censorship under
       the Second Amendment and Due Process clause. And the larger point is that
       none of Plaintiffs’ claims would exist if they had been allowed to publish the
       various digital firearms files continuously since 2013. The First Amendment
       is the sine qua non of this case.



               19
                The district court found the factual overlap between the claims pled against each
       defendant is “minuscule;” and that the claims have no “logical connection” because the
       defendants’ actions occurred “in different places and at different times.”
               20
                   The First Amendment claims, moreover, are complex factually and legally, as
       they involve questions about compelling interest, narrow tailoring, and numerous types of
       digital firearms information that Defense Distributed has created.




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              The other larger point ignored by the district court is that the principal
       claims against both defendants are temporally and factually intertwined to
       the extent that litigation in separate courts would largely overlap.           A
       paraphrase of the facts alleged in the Second Amended Complaint is
       demonstrative. Just when the Plaintiffs, after several years of litigation,
       thought they had obtained relief from a signed settlement agreement with the
       State Department, the NJAG loudly led a bevy of states in opposition.
       Within a span of about six months, he filed suit in Washington state, even
       more remote from New Jersey than Texas, and forced the joinder of Defense
       Distributed as a defendant there. He evidently thought the parties’ fates
       were legally and factually connected when he sought and obtained an
       injunction expressly to prevent the State Department from completing the
       settlement with Plaintiffs. The NJAG kept up public pressure against the
       settlement with threats of civil and criminal punishment against Plaintiffs’
       president Cody Wilson personally. At this time, the State Department opted
       not to complete the settlement. Accordingly, the State Department did not
       modify relevant federal regulations, disavowed the license and exemption
       from regulations it had promised Defense Distributed, and refused to appeal
       adverse decisions by the Washington federal court. The extent to which the
       NJAG’s campaign influenced the State Department’s alleged breaches is
       relevant to the claims against both defendants. At the same time, the NJAG’s
       seminal place in the litigation is a major, though far from the only facet of his
       conduct that was designed to derail the settlement and independently to
       restrain Plaintiffs’ exercise of free speech. Plaintiffs’ essential claims for
       First Amendment violations, breach of the settlement agreement, and the
       NJAG’s interferences cannot be understood by a factfinder without




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       investigating and telling the whole story. Similarly, having to tell the same
       story in two courts would abuse Plaintiffs and the judicial process. 21
               Also plain from the complaint is that the subsidiary claims are
       dependent upon the primary claims identified above. To cite one instance,
       Defense Distributed pleads that the State Department violated the
       Administrative Procedure Act in various aspects of its settlement agreement
       breach. The Washington State litigation was also based on alleged violations
       of the Administrative Procedure Act.                   The State Department’s
       noncompliance may have been caused by the mere fact of the Washington
       State litigation or by the imperative of complying with that court’s injunctive
       decrees or by the NJAG’s public campaign against the settlement. Sorting
       out cause and effect for these claims demands a single factfinder and judicial
       resolution.
               The district court also erred legally by failing to conclude that the
       administration of justice would not be materially advanced by transfer of the
       case against the NJAG to New Jersey. See Rolls Royce, 775 F.3d at 680. The
       burden rests on the NJAG as the movant to demonstrate that proposition,
       and he did not succeed. First, the public interest in achieving a single court’s
       ruling on Plaintiffs’ First Amendment claims cannot be overstated.
       Government instigated censorship of constitutionally protected speech is
       abhorrent to self-government; courts have a duty to prevent illegal
       censorship. But severance and transfer enhances the risk of conflicting
       rulings, which would seriously injure the Plaintiffs and throw the law in this
       important constitutional area into national disarray for several years.



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                 The NJAG interjects that a sovereign immunity defense precludes any tortious
       interference claim asserted by Plaintiffs. Plaintiffs dispute the assertion. This merits
       defense has no place in our analysis.




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              Second, because of the complex factual interactions among Plaintiffs
       and these Defendants, discovery and trial for the principal claims will require
       many of the same witnesses. No efficiency exists from conducting two fact-
       based litigations half a continent apart. On the other hand, no efficiency is
       gained by having two courts decide the separate subsidiary claims against
       each Defendant. Such claims are largely legal in nature, overlapping in
       several instances, and best resolved on briefing to a single court that has
       gained familiarity with the intricacies of Plaintiffs’ dozens of digital firearms
       files and background materials that could be published to the internet and in
       New Jersey. There is no obvious efficiency advantage, much less materially
       enhanced judicial economy from forcing Defense Distributed’s case into two
       separate cases.
              The necessity of denying severance conjoined with transfer is
       confirmed by proper application of Rolls Royce and Liaw Su Teng. In addition,
       the district court’s separate and independent Rule 21 severance and Section
       1404 transfer analyses are plagued with error and therefore alone justify the
       rebuke of mandamus. We turn first to severance.
              B. Severance
              In the Fifth Circuit, the accepted basis for Rule 21 severance analysis
       considers five factors: (1) whether claims arise out of the same transaction,
       occurrence, or series of transactions or occurrence; (2) whether the claims
       present common questions of law or fact; (3) whether settlement of the
       claims or judicial economy would be facilitated; (4) whether prejudice would
       be avoided if severance were granted; and (5) whether different witnesses
       and documentary proof are required for the separate claims.” See Rolls Royce,
       775 F.3d at 680; Paragon Office Servs., LLC v. UnitedHealthcare Ins. Co.,
       2012 WL 4442368, (N.D. Tex. Sept. 26, 2012); Parker v. Louisiana Dep't of
       Pub. Safety & Corr., 2019 WL 5103811 (M.D. La. Oct. 11, 2019); Calhoun v.




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       WA DHS Child Support Div., 2018 WL 2865315 (N.D. Tex. June 11, 2018);
       Pouncie v. Dlorah, Inc., 2015 WL 5178401 (N.D. Tex. Sept. 4, 2015); Cty. of
       Travis v. Purdue Pharma, LP, 2018 WL 1518848 (W.D. Tex. Mar. 28, 2018).
              First, as has been explained, the district court misconstrued the
       Second Amended Complaint.           Relevant to the severance factors, it
       erroneously found that there was no common transaction or occurrence or
       series of transactions or occurrences giving rise to the Plaintiffs’ claims
       against the Defendants. The district court compounded its error by stating
       that “the parties all acknowledge that the Washington Suit” had nothing to
       do with the settlement agreement between Defense Distributed and the State
       Department. This assertion is contradicted by the record. As the NJAG put
       it in his complaint in the Washington lawsuit, “in sum, the Government’s
       covert agreement to deregulate the CAD files by way of the Settlement
       Agreement—which culminated in the enactment of the “temporary
       modification” on July 27, 2018—are final agency decisions that not only
       failed to comply with procedural requirements, but that have far-reaching
       implications for national security and the safety and security of the State and
       people of Washington.” The district court for the Western District of
       Washington also stated that at the heart of its decision to grant a TRO, as
       requested by the NJAG, was the manner in which the State Department
       entered into and followed through on its settlement agreement with Defense
       Distributed. State v. United States Dep't of State, 315 F. Supp. 3d 1202, 1205
       (W.D. Wash. 2018). Defense Distributed’s claims against both Defendants
       fundamentally concern the State Department’s settlement agreement and
       the NJAG’s efforts after it was signed to prevent its meaningful
       implementation. The interference claims against the NJAG cannot be
       proven without initial proof that the settlement agreement was breached.
       These transactions and occurrences both perpetuated the violation of
       Plaintiffs’ First Amendment rights.        The occurrences and transactions




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       involved in Plaintiffs’ principal claims are thus logically, factually, and
       temporally inextricable. 22
               The district court also misapplied the second factor of the severance
       analysis in determining that Plaintiffs’ claims do not involve common issues
       of law or fact. The court put the matter exactly backward, as it stated that
       although “many of Plaintiff’s claims” arise from alleged First Amendment
       violations, “this is not the case for all of Plaintiffs’ claims….” To the
       contrary, a court is required to determine whether “there is at least one
       common question of law,” not whether all of the claims in a case involve the
       same question of law. Acevedo v. Allsup's Convenience Stores, Inc., 600 F.3d
       516, 521 (5th Cir. 2010). Further, the district court incorrectly analyzed
       “judicial economy” as applied to joint severance and transfer motions:
       according to Rolls Royce and Liaw Su Teng, severance is inappropriate where
       two parties are as inextricably entwined in the litigation as these defendants.
               The NJAG’s and district court’s other assertions about the efficiency
       benefits from severance ring particularly hollow in light of the course of the
       litigation. For example, bifurcation and transfer of the case, the district court
       states, would be an economical act since there is already a case in New Jersey
       dealing with separate claims against the NJAG by Defense Distributed. But
       Defense Distributed brought that case as a self-protective measure only after


               22
                   The district court asserted that the claims against the NJAG largely stem from
       the 2018 cease-and-desist letter, public comments by the NJAG directed at dissemination
       of Plaintiffs’ materials in New Jersey, and the law that criminalizes such dissemination.
       This is correct only to the extent that it highlights the similarity in Plaintiffs’ First
       Amendment claims against both Defendants, which, though based on different facts, center
       on the same publishable materials and demand uniform resolution.
                 Further, although we need not consider whether the NJAG is a necessary party to
       the litigation in the court below, see Fed. R. Civ. P. 19, he and his officials are plainly
       material witnesses to the Washington litigation, and the State Department’s assertions that
       its settlement may have been motivated by actions of the NJAG cannot be discounted.




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       the district court below had (erroneously) dismissed the NJAG from suit in
       the Western District of Texas. The district court cannot claim judicial
       efficiency is furthered when its decision directly caused the inefficient filing
       of that second suit.             Nor is the timing of the district court’s
       severance/transfer order persuasive, as it followed directly on the heels of
       this court’s decision upholding jurisdiction in the Western District of Texas.
       Judicial economy is also less than credibly asserted by the NJAG, who chose
       to travel to the West Coast to pursue its campaign against Defense
       Distributed while simultaneously defending this case and pursuing litigation
       and other measures in New Jersey. The multiplication of venues has
       disserved judicial economy. At this point, after essentially seven years of
       litigation in Texas and at least two other venues over Defense Distributed’s
       publications, to split this case into two parallel litigation tracks before two
       courts is beyond inefficient. 23
               The above discussion also shows why the court erred in regard to the
       final relevant factor involved in its severance analysis: finding no prejudice
       to Defense Distributed by splitting its case. 24 See Acevedo, 600 F.3d at 521.



               23
                  The final factor in severance analysis, whether the claims require different
       witnesses and sources of proof, is neutral. Plaintiffs will have to make the same proof in
       two proceedings about the protected nature of its information, while there is only some
       overlap between the witnesses for defendants.
               24
                   The district court embroiders its reasoning on prejudice by implying that
       Plaintiffs’ challenge to NJ Stat. Sec 2C:39-9(l)(2), a claim explicitly pled in their Second
       Amended Complaint, would fail for lack of personal jurisdiction over the NJAG. We do
       not agree. Plaintiffs’ original allegations included threats by the NJAG to prosecute
       Defense Distributed and Cody Wilson to the maximum extent allowed by state law. That
       the legislature added a particular device to enhance such prosecution, in the form of a
       criminal statute passed during the pendency of this case, is comprehended in the scope of
       the original complaint and the briefing in the district court and this court. And finally, as
       we noted in the previous opinion, the NJAG waived personal jurisdiction by not asserting
       that defense. Def. Distributed v. Grewal, 971 F.3d at 496.




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       The court’s legal and factual errors so permeate its severance order as to
       render it a clear abuse of discretion.
              C. Transfer Order
              Because the severance order was a clear abuse of discretion, the
       district court likewise “lacked authority . . . to transfer a portion of the single
       action . . . for one purpose while retaining jurisdiction over the remainder.”
       Chrysler Credit Corp., 928 F.2d at 1519; In re Nine Mile Ltd., 673 F.2d at 244.
       But even setting aside severance as impermissible, any transfer of this case,
       in whole or in part, constitutes an abuse of the district court’s discretion.
              A party seeking a transfer under Section 1404(a) “must show good
       cause” by “clearly demonstrat[ing] that a transfer is ‘[f]or the convenience
       of parties and witnesses, in the interest of justice.’” In re Volkswagen of Am.,
       Inc., 545 F.3d 304, 315 (5th Cir. 2008) (quoting 28 U.S.C. § 1404(a))
       (emphasis added).       “When the transferee venue is not clearly more
       convenient than the venue chosen by the Plaintiff, the Plaintiff's choice
       should be respected.” Id. When a defendant is haled into court, some
       inconvenience is expected and acceptable. Assuming that jurisdiction exists
       and venue is proper, the fact that litigating would be more convenient for the
       defendant elsewhere is not enough to justify transfer. In other words, the
       standard is not met by showing one forum is more likely than not to be more
       convenient, but instead the party must adduce evidence and arguments that
       clearly establish good cause for transfer based on convenience and justice.
       See e.g. id. 314-315.
              Courts are required to assess four private interest factors and four
       public interest factors pertinent to a transfer motion. See In re Volkswagen,
       545 F.3d at 315. The private interest factors are: “(1) the relative ease of
       access to sources of proof; (2) the availability of compulsory process to
       secure the attendance of witnesses; (3) the cost of attendance for willing




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       witnesses; and (4) all other practical problems that make trial of a case easy,
       expeditious and inexpensive.” Id. The public interest factors are discussed
       below. As with its discussion of Rule 21 severance, the district court abused
       its discretion factually and legally in weighing the transfer factors against the
       standard.
               Regarding the first private interest factor, the movant has the burden
       to establish good cause, which requires an actual showing of the existence of
       relevant sources of proof, not merely an expression that some sources likely
       exist in the prospective forum. In re Volkswagen, 545 F.3d at 315. Here,
       however, the district court erred by uncritically accepting the NJAG’s
       conclusory assertions that “the sources of proof relevant to these issues
       (including any non-party witnesses) are all in New Jersey.”                      Defense
       Distributed, 1:18-cv-00637, Dkt. 121, at 15–16 (W.D. Tex.); See e.g. Hammers
       v. Mayea-Chang, 2019 WL 6728446, at *7 (E.D. Tex. Dec. 11, 2019). The
       NJAG’s conclusory assertions lack that necessary proof, while the Plaintiffs
       identified proof, documents, and witnesses that are located in Texas and
       support maintaining Texas as the forum.            25   Weighing the first factor as
       “neutral” in the face of the NJAG’s lack of proof and Plaintiffs’ proffer
       abused both logic and the court’s discretion. Additionally, the district court
       legally erred by introducing a “prejudice” consideration into the first factor.
       The first private interest factor does not ask whether a transfer would




               25
                    For example, Defense Distributed provided details on how its activities,
       including research, design, development, manufacturing, and publishing, occurred in and
       around Austin, and how it also published the same computer files with digital firearms
       information at a brick-and-mortar public library in Austin, Texas by hosting the computer
       files in formats that patrons could access via computer workstations. The computer servers
       on which Defense Distributed hosts these files for publication to the internet are also
       located in Texas.




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       “prejudice” the non-moving party, but which forum provides easier access
       to sources of proof. Volkswagen, 545 F.3d at 315.
               Access to compulsory process for non-party witnesses is the gravamen
       of the second private interest factor. See e.g. Garrett v. Hanson, 429 F. Supp.
       3d 311, 318 (E.D. Tex. 2019). Neither the NJAG nor the district court
       identified any witness who is subject to compulsory process in New Jersey
       but not in Texas. Yet the court inexplicably weighed this factor not as neutral
       but in favor of transfer. “To show good cause[, however] means that a
       moving party . . . clearly demonstrates” the appropriateness of transfer.
       Where there is no demonstration by the movant, let alone a clear one, the
       court cannot weigh a factor against the non-movant and in favor of transfer.
       Besides lacking support in the record, the district court’s weighing of this
       factor in favor of New Jersey does not “reflect[] the appropriate deference to
       which the Plaintiff’s choice of venue is entitled,” In re Volkswagen, 545 F.3d
       at 315. 26
               The fourth private interest factor addresses “all other practical
       problems that make trial of a case easy, expeditious and inexpensive.” In re
       Volkswagen, at 315. The district court weighed this factor in favor of the
       NJAG because absent transfer, it would have to decide whether it has
       personal jurisdiction over the NJAG to adjudicate Defense Distributed’s
       allegedly newly raised claim challenging the constitutionality of NJ Stat.
       § 2C:39-9(l)(2). But as we discussed above that issue is not so novel as to
       require a separate analysis of personal jurisdiction. The district court itself
       previously recognized that “the instant action concern[ed]” The NJAG’s




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                  The third private interest factor, concerning the cost for willing witnesses, is
       agreed to be neutral, as the district court found.




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       “criminal enforcement actions,” such as “threatening to enforce a criminal
       law against Defense Distributed.” 364 F.Supp. 3d, at 686. 27
               The public interest factors bearing on transfer are:                      “(1) the
       administrative difficulties flowing from court congestion; (2) the local
       interest in having localized interests decided at home; (3) the familiarity of
       the forum with the law that will govern the case; and (4) the avoidance of
       unnecessary problems of conflict of laws [or in] the application of foreign
       law.” See In re Volkswagen, at 315. No party disputes that the first factor is
       neutral.
               As an initial matter, the district court erroneously treated the second
       and the third factors together. The district court reasoned that because some
       of Plaintiffs’ claims against the NJAG implicate New Jersey’s criminal law,
       § 2C:39-9(l)(2), the District of New Jersey has a greater interest in testing
       the constitutionality of that statute and is better equipped than Texas courts
       to evaluate it. The two factors, however, are distinct in the law for good
       reason.
               The second public interest factor, which focuses on the local interest
       in having localized interests decided at home, “most notably regards not
       merely the parties’ significant connections to each forum writ large, but
       rather the significant connections between a particular venue and the events
       that gave rise to a suit.” In re Apple Inc., 979 F.3d 1332, 1345 (Fed. Cir. 2020).
       Important considerations include the location of the injury, witnesses, and
       the Plaintiff’s residence. See Volkswagen, 545 F.3d at 317–18; Zurich Am. Ins.
       Co. v. Tejas Concrete & Materials Inc., 982 F. Supp. 2d 714, 727 (W.D. Tex.


               27
                   And this court noted that Plaintiffs’ claims encompass the “criminal actions”
       that the NJAG threatened “at a live press conference.” Defense Distributed, 971 F.3d at
       489. Appellants’ brief to this court confirms that Section 2C:39- 9(l)(2) was the sole legal
       basis for the threats.




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       2013). Indeed, “[t]he place of the alleged wrong is one of the most important
       factors in venue determinations.” Watson v. Fieldwood Energy Offshore, LLC,
       181 F. Supp. 3d 402, 412 (S.D. Tex. 2016).
               Texas’s “local interest in having [the] localized interests” this case
       implicates “decided at home” cannot be overstated. Volkswagen, 545 F.3d at
       315. The controversy over New Jersey’s statute is not “localized” to New
       Jersey. The AG has “projected himself across state lines and asserted a
       pseudo-national executive authority” in Texas by seeking “to bar Defense
       Distributed from publishing its materials anywhere,” chilling its speech, and
       reducing “Texans’ access to [its] materials.” Grewal, 971 F.3d at 492-95. In
       these circumstances, the aggressor state’s interest is considerably diminished
       because the Texas court’s ruling will have no direct effect on New Jersey’s
       citizens. If § 2C:39-9(l)(2) were declared unconstitutional in this litigation,
       that ruling would preclude the NJAG’s enforcing the statute against these
       Plaintiffs. At least the NJAG would not necessarily be prevented from
       enforcing the law in New Jersey. Thus, the strength of New Jersey’s interest
       in having this case decided at home is considerably less than that of Texas
       citizens whose primary recourse, as targets of this litigation in Texas, is a suit
       in Texas. And Texas courts have a significant interest in assessing the
       constitutionality and extraterritorial impact of New Jersey’s criminal law 28,
       especially a law that criminalizes speech.
               The familiarity of the forum with the law that will govern the case was
       also improperly weighed in favor of New Jersey. “Federal judges routinely
       apply the law of a State other than the State in which they sit….” This court
       is “not aware of any exceptionally arcane features of Texas, [New Jersey, or


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                  The New Jersey statute applies extraterritorially because it criminalizes
       “distribution” of speech into the state, and “distribute” is defined to include any act of
       “mak[ing] available via the internet or by any other means.” N.J. Stat. 2C:39-9(l)(2).




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       constitutional law,] that are likely to defy comprehension by a federal judge
       sitting in [Texas].” Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of
       Texas, 571 U.S. 49, 67–68, 134 S. Ct. 568, 584 (2013). Moreover, New Jersey
       courts’ familiarity with New Jersey law produces no meaningful efficiency
       rendering New Jersey a more convenient forum.            Defense Distributed
       pursues no claims arising under New Jersey law. Plaintiffs’ challenge to
       Section 2C:39-9(l)(2) is founded in the First Amendment and the extreme
       breadth of this criminal law, which purports to render illegal any speech that
       reaches the state from other states. Plaintiffs lodge other claims against the
       NJAG predicated on other federal constitutional provisions. Thus, the
       Texas court’s superior familiarity with Defense Distributed’s Texas law
       claims, and the fact that the New Jersey court would be bound to Texas law
       concerning such claims, see Country Chrysler, 928 F.2d at 1516, more than
       offsets any efficiencies that might be gained from New Jersey courts’
       familiarity with New Jersey law.
              The last public interest factor seeks to avoid “unnecessary problems
       of conflict of laws [or in] the application of foreign law.” Volkswagen,
       545 F.3d at 315. There are no risks of such a conflict here. Defense
       Distributed brought primarily federal law claims; and the state law claims
       involve Texas law, not New Jersey law.
              The district court repeatedly weighed the transfer factors against
       Plaintiffs by asserting that they could not be disadvantaged by transfer
       because they had “voluntarily” instituted additional litigation in New Jersey
       covering similar issues against the NJAG. This is incredible. Plaintiffs filed
       suit in New Jersey only because this district court had erroneously closed the
       door to their suit in Western District of Texas. The currently stayed
       litigation in New Jersey has no legitimate bearing against Plaintiffs’ original
       choice of forum.




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              Correctly assessed, the NJAG did not carry its burden to clearly
       demonstrate that transfer is clearly more appropriate than the Plaintiffs’
       choice of forum. The district court erred legally and factually in virtually
       every aspect of this issue, and its decision, which has unnecessarily
       lengthened this litigation even more, represents a clear abuse of discretion
       for which mandamus is an appropriate remedy.
                                     Conclusion
              For the foregoing reasons, we conclude that the district court’s order
       severing and transferring of the claims against the NJAG to the District of
       New Jersey was a clear abuse of discretion giving rise to an appropriate
       exercise of the court’s mandamus power.
              A writ of mandamus shall issue herein directing the district court to:
              (1)   Vacate its order dated April 19, 2021 that severed Defense
       Distributed’s claims against the NJAG and transferred them to the United
       States District Court for the District of New Jersey;
              (2) Request the District of New Jersey to return the transferred case
       to the Western District of Texas, Austin Division; and,
              (3) After return, to reconsolidate Defense Distributed’s case against
       the NJAG back into the case still pending against the State Department.
              The petition for writ of mandamus is hereby GRANTED.




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       Stephen A. Higginson, Circuit Judge, dissenting:
               “Countless expressions can be found in the jurisprudence to support
       the black-letter proposition that mandamus is an extraordinary remedy for
       extraordinary causes.” United States v. Denson, 603 F.2d 1143, 1146 (5th Cir.
       1979) (Rubin, J.).           The Supreme Court cautioned long ago that
       “[m]andamus, prohibition and injunction against judges are drastic and
       extraordinary remedies . . . reserved for really extraordinary causes.”                    Ex
       parte Fahey, 332 U.S. 258, 259-60 (1947). As we have said,
               In recognition of the extraordinary nature of the writ, we
               require more than showing that the court misinterpreted the
               law, misapplied it to the facts, or otherwise engaged in an abuse
               of discretion. And even reversible error by itself is not enough
               to obtain mandamus. Rather, we limit mandamus to only
               “clear abuses of discretion that produce patently erroneous
               results.”
       In re Lloyd’s Register N. Am., Inc., 780 F.3d 283, 290 (5th Cir. 2015) (quoting
       In re Volkswagen of Am., Inc., 545 F.3d 304, 310 (5th Cir. 2008)).
               Today, the majority uses that extraordinary remedy to reverse a
       district court’s discretionary transfer order, ruling that it was a clear abuse of
       discretion. 1 This district court’s interest-of-justice grant of transfer is not
       extraordinary cause, and compelling it to be undone is our indisputable error,
       for many reasons.
               First, Plaintiffs-Appellants Defense Distributed, the Second
       Amendment Foundation and Conn Williamson (hereafter DDSA) never
       properly requested the mandamus relief the majority has issued. Compare
       FED. R. APP. P. 21(a), with Notice of Appeal, Defense Distributed, No. 21-


               1
                 If it takes us more than half a year to explain what the district court did wrong, it
       is doubtful the court’s error was a clear abuse of discretion. See Volkswagen, 545 F.3d at 311.




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       50327 (5th Cir. Apr. 23, 2021), and Brief of Appellants, Defense Distributed,
       No. 21-50327 (5th Cir. June 17, 2021). And as DDSA acknowledged in oral
       argument, they could not point to any reviewing court that has ever, before
       today, deployed mandamus authority to compel a trial court to undo a
       Section 1404(a) discretionary, interest-of-justice, joint severance and
       transfer grant. Oral Argument at 4:48, Defense Distributed, No. 21-50327 (5th
       Cir. Aug. 3, 2021). 2
               A second obstacle is that our court has no authority to compel a federal
       district court in New Jersey to return a case it received and docketed on April
       20, 2021, above all when, over seven weeks later, unopposed by DDSA, that
       district court took the additional step of consolidating the case it received
       with its pre-existing, parallel litigation, which DDSA itself filed in 2019. See
       In re Red Barn Motors, Inc., 794 F.3d 481, 484-85 (5th Cir. 2015). Here is the
       pertinent chronology: After the district court granted the motion to transfer,
       DDSA did not, in district court, seek a stay or reconsideration. Nor did
       DDSA immediately seek mandamus of the district court’s transfer order, see



               2
                 The majority cites four cases from three of our sister circuits in which a § 1404(a)
       transfer was reversed on mandamus. None reversed a grant of joint severance and transfer,
       and each is further distinguishable. In In re Warrick, the reversal was based on the fact that
       the district court completely failed to consider one of the § 1404(a) factors and transfer
       would have unavoidably brought about dismissal of the claim. 70 F.3d 736, 740-41 (2d Cir.
       1995). In In re Nine Mile Ltd., the Eighth Circuit reversed the transfer grant only so that
       the district court could rule on the pending motion to reconsider transfer and the petitioner
       could seek review of that decision prior to actual transfer of the case. 673 F.2d 242, 243-44
       (8th Cir. 1982). In Sunbelt Corp. v. Noble, Denton & Assocs., Inc., there were two defendants,
       one of which was not subject to personal jurisdiction in the transferee court. 5 F.3d 28, 29,
       33 (3d Cir. 1993). The Third Circuit denied the request of the defendant who was subject
       to personal jurisdiction in the transferee court to sever the case and transfer only as to it. Id.
       at 33-34. In In re Howmedica Osteonics Corp., reversal of transfer as to some defendants was
       based on a forum selection clause, and the court severed the parties and affirmed the
       transfer only as to those defendants not subject to the forum selection clause. 867 F.3d 390,
       397-98, 411 (3d Cir. 2017).




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       Notice of Appeal, Defense Distributed v. Grewal, No. 21-50327 (5th Cir. Apr.
       23, 2021), and, in its initial filings in this court, DDSA explicitly disclaimed
       intention to “enjoin anything about the interlocutory transfer or severance
       rulings below,” Appellants’ Reply in Support of Appellants’ Motion for a
       Preliminary Injunction, Defense Distributed, No. 21-50327 (5th Cir. June 21,
       2021). DDSA did not ask the New Jersey district court to return the case to
       the Western District of Texas, nor did they oppose consolidation with the
       pre-existing New Jersey case. Hearing no opposition from DDSA, the New
       Jersey district court then consolidated the cases in that court. That was over
       half a year ago.
              Third, even if all we order of our district court is a request to transfer
       the case back to Texas—so that we can resolve a constitutional showdown
       between New Jersey law and 3D-printed weaponry—and assuming our court
       can sua sponte reconfigure an appellant’s notice of appeal into a non-
       conforming mandamus petition, still, here, the district judge painstakingly
       applied the Volkswagen transfer factors, which we set forth with the (short-
       lived) promise (“we stress”) that “in no case will we replace a district
       court’s discretion with our own.” 545 F.3d at 312. The district court’s
       Volkswagen analysis is so comprehensive and well-reasoned as to show that
       had transfer been refused, a writ for mandamus to compel transfer would be
       well supported by the settled precedent of this court, see Lloyds, 780 F.3d 283,
       In re Rolls Royce Corp., 775 F.3d 671 (5th Cir. 2014); In re Radmax, Ltd., 729
       F.3d 285 (5th Cir. 2013); Volkswagen, 545 F.3d 304, which other courts follow
       and scholars credit, see In re McGraw-Hill Glob. Educ. Holdings LLC, 909 F.3d
       48, 57 (3d Cir. 2018) (citing Lloyds); In re Hudson, 710 F.3d 716, 717-18 (7th
       Cir. 2013) (Posner, J.) (citing Volkswagen); In re Apple, Inc., 602 F.3d 909,
       911-12 (8th Cir. 2010) (citing Volkswagen); In re: Apple, No. 2021-181, 2021
       WL 5291804, at *2 (Fed. Cir. Nov. 15, 2021); In re: Hulu, LLC, No. 2021-




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       142, 2021 WL 3278194, at *2 (Fed. Cir. Aug. 2, 2021); 55 JOHN BOURDEAU
       ET AL., C.J.S. MANDAMUS § 97 (2021).

              Notably, severance is not only discretionary and tied to case
       management prerogatives, but it is not itself subject to review through a writ
       of mandamus. At all. See In re Rolls Royce, 775 F.3d at 676. And though Rolls
       Royce held that a district court’s ruling on a joint transfer and severance
       motion may be reviewed through mandamus, neither DDSA nor the majority
       opinion cites any mandamus case, ever, reversing a grant of a joint severance
       and transfer motion. Constructed for DDSA, the novel argument – opposite
       to indisputable – appears to be that New Jersey is a necessary party because
       the United States Department of State somehow was its pull-toy, allegedly
       breaching a settlement agreement whose provisions plaintiffs could not
       specify at oral argument as having been breached, much less that New Jersey
       caused the federal government to breach. Manifestly, New Jersey has no role
       in United States weapons export regulations.
              Several additional points highlight our usurpation.
              First, the district court here transferred to a court whose intercession
       these same plaintiffs had already sought, had argued on appeal in the Third
       Circuit to maintain, and thereafter had kept pending for over two years. In
       other words, the transfer was to a receiving court which had pre-existing
       jurisdiction over these plaintiffs’ claims, at their initiation and insistence.
              Second, that transfer was back to a court within the only federal circuit
       authorized to certify questions of interpretation of New Jersey law to the
       Supreme Court of New Jersey, which could interpret that law to avoid, not
       force, a novel and difficult constitutional showdown. See N.J. COURT RULES
       2:12A-1. Notably, the Supreme Court recently reversed our court when we
       tried to force resolution of a different First Amendment collision without




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       deferring first to one of our states’ highest court’s prerogative to interpret its
       own law. McKesson v. Doe, 141 S. Ct. 48 (2020). 3
               A third related, especially serious point is that removing discretion to
       grant transfer undermines our court’s mandamus transfer precedent, which,
       hitherto, we have used to require comity, not defy it. And it does so
       imprudently, forcing a constitutional collision that may well be avoidable
       through certification of questions of state law, which we cannot do but the
       receiving circuit can. Hereafter, as to other transfer grants, our mandamus,
       discordantly, will reduce or remove trial judge discretion to avoid
       adjudicating the constitutionality of other states’ laws.
               Finally, we commit not just an error we told our district courts in
       Volkswagen would not occur, but another one we took pains earlier in this
       litigation to cabin against. See Defense Distributed v. Grewal, 971 F.3d 485,
       496 (5th Cir. 2020). Hereafter, state attorneys general, including those
       within our own circuit, may not only be hailed into federal courts across the
       country to defend their state laws, but then, if a trial judge assesses interests
       of justice to favor transfer—say for consolidation with related claims already



               3
                 The intimation is made that transfer should be undone, in part, because New
       Jersey has intentionally delayed this litigation. As noted, we have not acted promptly
       ourselves, on a case docketed in another circuit nearly a year ago and as to a point of law
       the majority now, with no precedent, says is so obvious as to be indisputable. Regardless,
       sufficient answer to innuendo is that this litigation, over whether governments have
       authority to regulate 3D printable weaponry, commonly known as “ghost guns,” has
       spanned three circuits for over a decade, without any court of original jurisdiction—courts
       with actual fact-finding authority over lawyers before them—even hinting of bad faith,
       much less making findings to support our ire. In fact, to my knowledge, the defendants
       have prevailed in every district court so far, not to mention twice in this court, Defense
       Distributed v. U.S. Dep’t of State, 947 F.3d 870 (5th Cir. 2020); Defense Distributed v. U.S.
       Dep’t of State, 838 F.3d 451 (5th Cir. 2016), and before the Third and Ninth Circuits, see
       Defense Distributed v. Att’y Gen of N.J., 972 F.3d 193 (3d Cir. 2020); State v. U.S. Dep’t of
       State, 996 F.3d 552 (9th Cir. 2021).




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       pending in a co-equal court whose circuit has certification authority—that is
       indisputable error. 4
               Consistent with the New Jersey Attorney General’s express and
       emphatic denials, twice to our panel, that it seeks to enforce New Jersey law
       in Texas, the record is devoid of enforcement measures, such as a takedown
       order or criminal prosecution, against DDSA. Indeed, the parties point to no
       prosecution even in New Jersey using New Jersey’s new law, yet the majority
       rules today that mandamus lies to force New Jersey to defend its new law for
       the first time in Texas. Because this precedent, now binding as indisputable,
       does injury to state sovereignty and comity, not to mention district court case
       management discretion, it is small comfort that there is a pending dismissal
       motion filed by the Department of State which, if granted, may lead to re-
       transfer, albeit after further, up-down delay protracted by us.
               Also specific to this case, it is small comfort that the most we compel
       is a request, which the New Jersey federal district court no doubt will seriously
       consider, informed by comity and state law priorities set forth by the
       Supreme Court, as well as by its own assessment of whether litigation
       resolving New Jersey law should be decided in Texas as well as delayed and
       encumbered by the national security interests implicated in the federal
       government’s overseas export munitions restrictions, which are at the heart
       of the litigation in the Western District of Texas.
               Mandamus rulings announce law inflexibly. Here, without precedent,
       our court, seemingly impatient for the last half decade, to force a difficult


               4
                 Cf. Response Brief of Defendant-Appellee Ken Paxton in His Official Capacity as
       Attorney General of Texas at 10-11, Twitter v. Paxton, 26 F.4th 1119 (9th Cir. 2022) (No.
       21-15869) (“Where, as here, the Attorney General of a sovereign State is sued for actions
       to enforce that State’s law in that State, there is ‘only one obvious locus’ for any
       constitutional challenge: in that State.”).




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       First (Second?) Amendment clash over government regulation of 3D
       printable “ghost” weapons, supplants district courts’ long-standing, fact-
       specific case management discretion to transfer litigation for consolidation
       with an existing case in another circuit, in derogation of state sovereignty,
       comity and constitutional avoidance principles, contrary to instruction given
       to us by the Supreme Court just last year.




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     Exhibit C
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               United States Court of Appeals
                    for the Fifth Circuit
                                   ___________

                                    No. 21-50327
                                   ___________

       Defense Distributed; Second Amendment Foundation,
       Incorporated,

                                                          Plaintiffs—Appellants,

                                        versus

       Andrew J. Bruck, Acting Attorney General of New
       Jersey, in his official and individual capacities

                                               Defendant—Appellee.
                     ______________________________

                     Appeal from the United States District Court
                          for the Western District of Texas
                               USDC No. 1:18-CV-637
                     ______________________________

                 ON PETITION FOR REHEARING EN BANC

       Before JONES, ELROD, and HIGGINSON, Circuit Judges.
       Per Curiam:
             Treating the petition for rehearing en banc as a petition for panel
       rehearing (5th Cir. R. 35 I.O.P.), the petition for panel rehearing is
       DENIED. Because no member of the panel or judge in regular active
       service requested that the court be polled on rehearing en banc (Fed. R.
       App. P. 35 and 5th Cir. R. 35), the petition for rehearing en banc is
       DENIED.
